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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

Anthony PERRY,

                                   Plaintiff,

         -vs.-

Wilbur L. ROSS, Jr.                                       C.A. No. 17-1932 (TSC)

                                   Defendant.


                                    JOINT STATUS REPORT

         On April 18, 2018, the parties met with Judge Harvey for mediation and were unable to

reach an agreement. The parties do not expect that further efforts at mediation will be helpful at

this time.

                                          Plaintiff’s Position

         Mr. Perry believes that the Court should lift the stay, require the Government to respond

to the amended complaint within twenty-one days, and resolve the case in accordance with the

CSRA by reviewing and adjudicating both the civil service and discrimination claims.

                                         Defendant’s Position

         Defendant requests entry of a briefing schedule on the threshold issue of whether the

MSPB’s decision dismissing Plaintiff’s appeal for lack of jurisdiction should be affirmed by this

Court.




Dated: May 1, 2018                                 Respectfully submitted,


                                                   /s/ James A. Kraehenbuehl
                                                   James A. Kraehenbuehl

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